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             IN THE CHANCERY COURT OF GRENADA COUNTY,MISSISSIPPI


IN THE MATTER OF THE ESTATE OF
ROBERT DEVON LOGGINS,DECEASED                                          CAUSE NO.: 18-cv-282 PL


RIKA JONES                                                                           PETITIONER


                      ORDER APPOINTING ADMINISTRATOR AND
                      GRANTING LETTERS OF ADMINISTRATION


       This cause comes before the Court on the Petition of Rika Jones seeking issuance of

Letters of Administration of the Estate of Robert Devon Loggins. Upon careful consideration,

the Court finds the Petition to be well taken and due to be GRANTED. The Court finds as

follows, to wit:

        1.     That Robert Devon Loggins departed this life on or about November 29, 2018, and

said Decedent is believed to have died in Grenada County without substantial assets or a fixed

place of residence.

       2.      That said Decedent left no last will or testament, so far as Petitioner knows, after a

reasonable and diligent search.

       3.      That said Decedent at the time of his death was married, and was survived by his

spouse, Rika Jones and one child, Robert De'Aundre Loggins. That Robert De'Aundre Loggins

was under the age of eighteen (18) years at the time of Decedent's passing.

       4.      That Petitioner is over the age of eighteen(18) years and is of sound mind and has

not been convicted of a felony.

       5.      That Petitioner is a fit, suitable and proper person to serve as Administrator of the

Estate of Robert Devon Loggins, pursuant to Miss. Code Ann.§§ 91-7-63 and 91-7-65 (1972).

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                                                                                          EXHIBIT "P"
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          6.     That no one else has filed to be appointed or has qualified as Administrator of the

estate.

          7.     That the Estate should be immediately administered for the proper management

thereof and for the prompt collection of the assets of the Estate.

          8.     That it would be in the best interest of the Estate to grant Letters of

Administration to Petitioner, as Rika Jones is the spouse of the Decedent.

          9.     That this Estate has no known substantial assets, except that an action for

wrongful death as the result of negligent, willful, and wanton actions of third parties is believed

to be among his assets.

          10.    That inventory, appraisal, and bond be waived until such time as it is known

whether a recovery will result from the aforesaid cause of action.

          1 1.   That Petitioner is appointed to represent the Decedent's Estate to retain counsel

and represent the interests of the Estate in the cause of action for wrongful death to the Decedent.

          12.    That Petitioner is authorized to employ Tannehill, Carmean & McKenzie,PLLC,

of Oxford, Mississippi as her counsel to represent the interest of the Estate in the cause of action

for wrongful death to the Decedent and that the Employment Contract entered into between

Tannehill, Carmean & McKenzie, PLLC and Rika Jones, on behalf of herself, the Estate, and her

minor child be approved.

          13.    That upon Petitioner's execution and filing of the Oath of Administratrix, the

Clerk of this Court shall issue Letters ofAdministration to her in this cause.

          Therefore, ORDERED and ADJUDGED,the Petition is hereby GRANTED.

          IT IS SO ORDERED,this the         9th    day of       January               ,2019.



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